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   Trials@uspto.gov                           Paper 15
   571-272-7822                               Entered: April 17, 2015




           UNITED STATES PATENT AND TRADEMARK OFFICE
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            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                           ____________

                            3M COMPANY, INC.,
                                Petitioner,

                                      v.

                      ANDOVER HEALTHCARE, INC.,
                             Patent Owner.
                           _______________

                             Case IPR2014-00630
                               Patent 6,156,424
                              _______________


   Before CHRISTOPHER L. CRUMBLEY, KRISTINA M. KALAN, and
   BRIAN P. MURPHY, Administrative Patent Judges.

   KALAN, Administrative Patent Judge.


                                 JUDGMENT
                         Request for Adverse Judgment
                              37 C.F.R. § 42.73
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   Case IPR2014-00630
   Patent 6,156,424

                                    Introduction
         On April 9, 2015, Andover Healthcare, Inc. (“Patent Owner”) filed a
   Request under 37 C.F.R. § 42.73(b)(2) to Cancel Claim 6. Paper 13
   (“Req.”). On April 10, 2015, 3M Company, Inc. (“Petitioner”) requested a
   conference call to discuss the language of the Request. A call was held
   among counsel for Patent Owner, Petitioner, and Judges Crumbley, Kalan,
   and Murphy on April 14, 2015.

                                    Background

         In the present proceeding, we initially denied institution of inter
   partes review on October 20, 2014. Paper 9. Petitioner filed a Request for
   Rehearing on November 19, 2014. Paper 10. On February 20, 2015, we
   granted-in-part the Request for Rehearing and instituted inter partes review
   of claim 6 of U.S. Patent No. 6,156,424 (“the ’424 Patent”). Paper 11.
         Patent Owner, in its April 9, 2015 Request to Cancel Claim 6,
   indicated that it “requests that claim 6 (only) be cancelled under 37 C.F.R. §
   42.73(b)(2).” Req. 2. Patent Owner concluded that, because “inter partes
   review was instituted only for claim 6, with claim 6 cancelled, there are no
   remaining claims or issues for trial.” Id.

                                     Judgment

         Under 35 U.S.C. § 42.73(b), a party may request judgment against
   itself at any time during a proceeding. Actions construed as a request for
   entry of adverse judgment include “[c]ancellation or disclaimer of a claim
   such that the party has no remaining claim in the trial.” 35 U.S.C.
   § 42.73(b)(2). Patent Owner has requested cancellation of claim 6 under 35
   U.S.C. § 42.73(b)(2) and thus has requested entry of adverse judgment.
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         During the conference call, Patent Owner clarified that the sole
   purpose of its Request was to cancel claim 6. In response to a question by
   the Board, Patent Owner acknowledged that its request to cancel the only
   remaining claim in this proceeding would result in entry of adverse
   judgment against Patent Owner. Patent Owner represented that it was
   aware that entry of adverse judgment as a result of the cancellation would
   result in termination of the proceeding.
         Given Patent Owner’s representations during the call and in its
   Request as filed, we grant Patent Owner’s request to cancel claim 6.
   Cancellation of claim 6, the only claim on which we instituted inter partes
   review, will terminate the proceeding. We make no determination as to
   claims 1–5, which are not part of this proceeding.

                       Motion for Pro Hac Vice Admission

         On April 13, 2015, Patent Owner filed a Motion for Pro Hac Vice
   Admission of Mark Grossman. Paper 14. In view of our judgment and
   termination of the proceeding herein, the Motion for Pro Hac Vice
   Admission is denied as moot.
                                     ORDER
         Accordingly, it is:
         ORDERED that adverse judgment is entered against Patent Owner
   under 37 C.F.R. § 42.73(b);
         FURTHER ORDERED that claim 6 of the ’424 patent will be
   cancelled;
         FURTHER ORDERED that this proceeding is terminated; and



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         FURTHER ORDERED that the Motion for Pro Hac Vice Admission
   of Mark Grossman is denied as moot.




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   Patent 6,156,424


   FOR PETITIONER:

   Mark Sweet
   mark.sweet@finnegan.com

   Erin Sommers
   erin.sommers@finnegan.com

   FOR PATENT OWNER:

   Peter Chiabotti
   peter.chiabotti@akerman.com

   Mark Passler
   mark.passler@akerman.com




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